               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
vs.                                    )      Case No. 07-05062-11-CR-SW-ODS
                                       )
DANIEL JEFFREY McCANN,                 )
                                       )
                   Defendant.          )

 ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
          AND DENYING DEFENDANT’S MOTION TO SUPPRESS

      On April 3, 2008, the Honorable James C. England, United States Magistrate
Judge for the Western District of Missouri, issued his Report and Recommendation
recommending that Defendant’s Motion to Suppress (Doc. # 153) be denied. Neither
party filed objections to the Report and Recommendation, and the time for doing so has
passed. 28 U.S.C. § 636(b)(1)(C); Local Rule 74.1(a)(2). Accordingly, Judge England’s
Report and Recommendation (Doc. # 196) is adopted as the Order of the Court, and
Defendant’s Motion to Suppress is denied.

IT IS SO ORDERED.



                                              /s/ Ortrie D. Smith
                                              ORTRIE D. SMITH, JUDGE
DATE: April 28, 2008                          UNITED STATES DISTRICT COURT




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